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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF LOUISIANA



DANIEL JOSEPH BLANK,                        CIVIL ACTION No. 3:16-cv-00366
                Petitioner

       v.                                   JUDGE BRIAN A. JACKSON
                                            MAGISTRATE RICHARD BOURGEOIS

DARREL VANNOY, Warden,
         Louisiana State Penitentiary,
         Angola, Louisiana,
                Respondent


                      ORDER FOR THE TRANSFER OF EVIDENCE

       Upon consideration of Daniel Blank’s Motion For The Transfer Of Evidence To Defense

Expert Bode Technology, this Court hereby ORDERS the following Custodians of the physical

evidence to immediately and without delay ship the following items collected in the case of State

of Louisiana v. Daniel Blank, No. No. 10-677:

Description                  Agency       Identification Last Known Custodian
                             Nos.
Bat collected from scene of APSO: Ex. 11, 11C-2            Terrebonne Parish Clerk of
Victor Rossi’s homicide     APSO TRAQ Barcode #            Court
                            APSD05439
                                                           Attn:     Theresa      A.
                            LSPCL: SP9568-96 #11
                                                           Robichaux, Clerk of Court
                            FBI Lab: 980921048 S HE
                            GX (6/14/99, Q5)               7856 Main Street
                            State Exhibit: S-103           Houma, LA 70360
                                                           Ph.: 985-868-5660
Fingernail clippings and     SJBPSO: Ex. 29                St. John the         Baptist
scrapings collected from     LSPCL: SP4429-97 #29          Sheriff’s Office
homicide victim Salvador     FBI Lab: 70821030 S HE
                                                           Attn: Major Larry LeBlanc
Arcuri                       GX & 980921051 S HE
                             GX (6/14/66, Q159.1)          Criminal      Investigations
                                                           Division
                                                           1801 W. Airline Hwy,

                                                1
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                                                          Laplace, LA 70068
                                                          Ph.: 985-359-8769
Kent Light cigarette butts APSO Ex. 26A – 26I             Ascension Parish Sheriff’s
collected from scene of APSO TRAQ Barcode                 Office District 2 Sub-
Millet attempted homicide #APSD06094                      Station
                           APSO TRAQ Barcode
                                                          13192 Airline Highway
                           #APSD09564
                                                          Gonzales, LA 70737
                           FBI Lab: 70924019 S HE
                           GX (6/14/99, Q8, Q9, Q10,      Ph.: 225-621-8300
                           Q11, Q12, Q13, Q14, Q15,
                           Q16)


and ship them via Federal Express to:

                             Bode Cellmark Technology
                             10430 Furnace Road, Suite 107
                             Lorton, Virginia 22079
                             Tel. (703) 646 9740

for the purpose of a DNA examination and analysis.

       If, in the scientific judgment of Bode Technology, any probative unknown DNA profile

is obtained from testing of the submitted evidence, Bode Technology will submit such profile(s)

to the Combined DNA Index System (CODIS) database, pursuant to the requirements and

restrictions of the Federal Bureau of Investigation for CODIS submission. In performing its

examination and analysis, Bode technicians should endeavor to avoid the complete consumption

of any samples, though consumption is possible and will depend on the size of any deposits and

condition of the evidence.

       Following completion of its analysis, Bode will promptly notify each of the respective

Custodians and make arrangements to return the evidence by Federal Express.


       Signed this ___ day of ___________, 2019.


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                                           JUDGE BRIAN A. JACKSON
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